ILND 44 (Rev. 09/20)                              CIVIL #:
                            Case: 1:22-cv-03624 Document COVER     SHEET
                                                           1-1 Filed: 07/13/22 Page 1 of 1 PageID #:88
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
        NAV CONSULTING, INC.                                                                                     ABHISHEK KUMAWAT and SUDRANIA FUND SERVICES, CORP.


   (b) County of Residence of First Listed Plaintiff Cook                                                       County of Residence of First Listed Defendant DuPage County
                                   (Except in U.S. plaintiff cases)                                               (In U.S. plaintiff cases only)
                                                                                                                   Note: In land condemnation cases, use the location of the tract of land involved.

   (c) Attorneys (firm name, address, and telephone number)                                                       Attorneys (If Known)
        Kevin M. Cloutier, Esq./SHEPPARD MULLIN RICHTER & HAMPTON LLP
        70 West Madison Street, 48th Floor, Chicago, Illinois 60602
        Tel: (312) 499-6300

II. BASIS OF JURISDICTION (Check one box, only.)                                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                         (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                 ■   3   Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                (U.S. Government not a party.)                                                                               Incorporated or Principal Place of
                                                                                                           Citizen of This State            1           1                                          4       4
                                                                                                                                                            Business in This State

  2 U.S. Government                     4   Diversity                                                     Citizen of Another State       2           2    Incorporated and Principal Place          5      5
      Defendant                               (Indicate citizenship of parties in Item III.)                                                              of Business in Another State

                                                                                                          Citizen or Subject of a
                                                                                                                                         3           3    Foreign Nation                            6      6
                                                                                                          Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
          CONTRACT                                                    TORTS                                    PRISONER PETITIONS                        LABOR                        OTHER STATUTES
                                                                                                              510 Motions to Vacate                710 Fair Labor Standards
  110 Insurance                              PERSONAL INJURY                   PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                       Act
                                                                                                              530 General                                                           376 Qui Tam (31 USC
  120 Marine                            310 Airplane                          530 General                                                          720 Labor/Management
                                                                                                                                                                                         3729 (a))
                                        315 Airplane Product/LDELOLW\
                                                                              367 Health Care                535 Death Penalty                          Relations
                                        320 Assault, Libel & Slander                                                                                                                400 State Reapportionment
                                                                                  Pharmaceutical
  130 Miller Act                         )HGHUDO (PSOR\HUV                   Personal Injury
                                             /LDELOLW\                                                   Habeas Corpus:                       740 Railway Labor Act            410 Antitrust
                                                                                  Product Liability
  140 Negotiable Instrument             340 Marine                            368 Asbestos Personal          540 Mandamus & Other                  751 Family and Medical           430 Banks and Banking
  150 Recovery of Overpayment           345 Marine Product Liability              Injury Product             55 &LYLO5LJKWV                           Leave Act                   450 Commerce
       & Enforcement of Judgment        350 Motor Vehicle                         Liability                  3ULVRQ&RQGLWLRQ                  790 Other Labor Litigation       460 Deportation
  151 Medicare Act                      355 Motor Vehicle Product                                            560 Civil Detainee -                  791 Employee Retirement          470 Racketeer Influenced
  152 Recovery of Defaulted                     Liability                PERSONAL PROPERTY                        Conditions                                                             and Corrupt
                                                                                                                                                         Income Security Act
       Student Loan                     360 Other Personal Injury                                                 of Confinement                                                        Organizations
      (Excludes Veterans)               362 Personal Injury - Medical         370 Other Fraud                                                                                       480 Consumer Credit
  153 Recovery of Veteran’s                     Malpractice                                                                                        PROPERTY RIGHTS
                                                                              371 Truth in Lending                                                                                  485 Telephone Consumer
      Benefits                                                                                                                                     820 Copyright
  160 Stockholders’ Suits                                                      380 Other Personal                                                  830 Patent                            Protection Act (TCPA)
  190 Other Contract                                                               Property Damage                                                 835 Patent - Abbreviated         490 Cable/Sat TV
  195 Contract Product Liability                                               385 Property Damage                                                     New Drug Application         850 Securities/Commodities/
  196 Franchise                                                                    Product Liability                                               840 Trademark                        Exchange
                                                                                                                                               ■   'HIHQG7UDGH6HFUHWV        890 Other Statutory Actions
                                                                                                                                                     $FWRI '76$            891 Agricultural Arts
      REAL PROPERTY                             CIVIL RIGHTS                    BANKRUPTCY                    FORFEITURE/PENALTY                   SOCIAL SECURITY                  893 Environmental Matters
   210 Land Condemnation                  2WKHU &LYLO 5LJKWV            422 Appeal 28 USC 158          625 Drug Related Seizure             861 HIA (1395ff)                 895 Freedom of Information
                                                                               423 Withdrawal                     of Property                      862 Black Lung (923)                 Act
   220 Foreclosure                      441 Voting                                                               21 USC 881
   230 Rent Lease & Ejectment           442 Employment                              28 USC 157               690 Other                            863 DIWC/DIWW                    896 Arbitration
                                                                                                                                                         (405(g))                   899 Administrative
   240 Torts to Land                    443 Housing$FFRPPRGDWLRQV                                                                                                                      Procedure
   2 7RUW3URGXFW/LDELOLW\         445 Amer. w/Disabilities              IMMIGRATION                                                        864 SSID Title XVI                   Act/Review or Appeal of
   $OO2WKHU5HDO3URSHUW\        Employment                       462 Naturalization                                                  865 RSI (405(g))                     Agency Decision
                                     446 Amer. w/Disabilities -                    Application                                                                                     950 Constitutionality of
                                            Other                              463 Habeas Corpus –                                                  FEDERAL TAXES                       State Statutes
                                         448 Education                             Alien Detainee                                                  870 Taxes (U.S. Plaintiff
                                                                                   (Prisoner Petition)                                                   or Defendant
                                                                               465 Other Immigration                                               871 IRS—Third Party
                                                                                    Actions                                                            26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                2 Removed from                  3   Remanded from                  4 Reinstated                           5 Transferred                  6 Multidistrict          8 Multidistrict
    Proceeding                State Court                       Appellate Court                  or Reopened                            from Another                   Litigation -             Litigation -
                                                                                                                                        District                       Transfer                 Direct File
                                                                                                                                       (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                            VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                         423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                       a judge of this Court. Use a separate attachment if necessary.)
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VIII. REQUESTED IN                 Check if this is a class action under Rule 23,     Demand $ 100,000+             CHECK Yes only if demanded in complaint:
       COMPLAINT:                  F.R.CV.P.                                                                        Jury Demand:      Yes           No                     ■


IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                          Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No If yes, Case #
                                                                                               ■              Name of Judge
       July 13, 2022
Date: ___________________________________________                                                   /s/ Kevin M. Cloutier
                                                                    Signature of Attorney of Record ______________________________________________
